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10                                     UNITED STATES DISTRICT COURT

11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

12

13   NATIONAL TPS ALLIANCE, et al.                        Case No. 25-cv-1766

14                       Plaintiffs,                      UNOPPOSED MOTION FOR LEAVE TO
                                                          FILE AMICI CURIAE BRIEF IN
15   v.                                                   SUPPORT OF PLAINTIFFS’ MOTION
                                                          TO POSTPONE EFFECTIVE DATE OF
16   KRISTI NOEM, et al.,                                 AGENCY ACTION

17
                        Defendants.
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     UNOPPOSED MOTION FOR LEAVE TO FILE AMICI CURIAE BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION TO
                          POSTPONE EFFECTIVE DATE OF AGENCY ACTION
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 1          The City and Local Government amici curiae (“Amici”) respectfully move for leave to file the

 2   attached proposed amicus brief in this matter. Counsel conferred with the parties, who advised that they

 3   do not oppose this motion. A full list of Amici are set forth in Appendix A hereto. In support of the

 4   motion, Amici state the following:

 5   1) Nature of movant’s interest

 6          Amici are eleven cities or counties, located in seven states across the country, that are

 7   collectively home to recipients of Temporary Protected Status (“TPS”) whose status is at risk as result of

 8   the actions by defendants Kristi Noem, the United States Department of Homeland Security, and the

 9   United States of America (collectively, “Defendants”). The revocation of TPS would negatively impact

10   Amici, their communities, and their residents. TPS recipients contribute meaningfully to economic and

11   cultural life: they work, pay taxes, raise children (some of whom are U.S. citizens), and participate

12   actively in local communities. TPS protection also facilitates trust between immigrant communities and

13   law enforcement. If TPS recipients are faced with the impossible choice of either going underground or

14   returning to dangerous conditions in Venezuela, Amici will lose these invaluable community benefits.

15   Accordingly, Amici have a strong interest in this matter.

16   2) The parties supported by amici

17          Amici request that the Court grant the plaintiffs’ motion to postpone the effective date of

18   Defendants’ action.

19   3) Why an amicus brief is desirable

20          Amici possess unique insight into the impact of TPS on the communities where the Venezuelans

21   who are recipients of TPS live and work. Amici lend a valuable perspective on the importance of TPS

22   to communities across the United States.

23   4) Why the movants’ position is not adequately represented by a party

24          As local government entities, Amici’s perspective on the impact of TPS and its potential

25   revocation is different from that of the plaintiffs. Amici are better positioned to speak to the impact of

26   TPS revocation on, inter alia, local economies, tax revenues, public safety, and similar topics.

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                                                         2
     UNOPPOSED MOTION FOR LEAVE TO FILE AMICI CURIAE BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION TO
                          POSTPONE EFFECTIVE DATE OF AGENCY ACTION
             Case 3:25-cv-01766-EMC          Document 71        Filed 03/18/25      Page 3 of 4



 1   5) Why the matters asserted are relevant to the disposition of the case

 2           Amici provide perspective and arguments regarding the impact of TPS and the devastating

 3   effects of TPS revocation that are highly relevant to the Court’s decision regarding the plaintiffs’ request

 4   for injunctive relief.

 5   6) The position of each party as to the filing of an amicus brief

 6           As noted, counsel for Amici have conferred with counsel for all parties, who advised that they

 7   have no objection to this motion.
                                                      *******
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 9   For these reasons, Amici respectfully request leave to file the attached amicus brief.

10                                                   Respectfully submitted,

11                                                   HEATHER FERBERT, City Attorney
12
      Dated: March 18, 2025                            /s/ Mark Ankcorn
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     UNOPPOSED MOTION FOR LEAVE TO FILE AMICI CURIAE BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION TO
                          POSTPONE EFFECTIVE DATE OF AGENCY ACTION
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 1                                         APPENDIX A

 2                             FULL LIST OF PROPOSED AMICI CURIAE

 3

 4   City of Denver

 5   City and County of San Francisco

 6   City of Hartford

 7   City of Cambridge

 8   City of San Diego

 9   City of Chicago

10   City of Iowa City

11   City of Minneapolis

12   City of Saint Paul

13   City of Boston

14   County of Santa Clara

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       BRIEF OF AMICI CURIAE CITY AND LOCAL GOVERNMENTS IN SUPPORT OF PLAINTIFFS’ MOTION TO
                             POSTPONE EFFECTIVE DATE OF AGENCY ACTION
